Case 2:O4-cv-O2856-SHI\/|-dkv Document 21 Filed 07/26/05 Page 1 of 2 Page|D 25

 

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IN THE UNITED STATES DISTRICT coURT
FOR THE wEsTERN DISTRICT oF TENNESSEE
wEsTER.N DIVISION 05 JUL 25 FH 33 "7
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ANTONIO M. PERRY C\£RKU_S D~STHQTCUBT
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Plaintiff,
V. CASE NO. 04-2856-MaV

SHELBY COUNTY DIVISION
OF CORRECTIONS

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Defendant.

 

ORDER DENYING PLAINTIFF’S MOTION TO COMPEL
AS MOOT

 

Before the court is the July 20th, 2005 motion of the
plaintiff, Antonio M. Perry, to compel the defendant, Shelby County
Division of Corrections, to provide its initial disclosures
pursuant to Federal Rules of Civil Procedure 26(a)(l). The motion
was referred to the United States Magistrate Judge for
determination.

The defendant indicates in its response to the motion filed
with the court on July 22, 2005 its initial disclosures were
submitted to the plaintiff on July 21, 2005. Accordingly, the

plaintiff's motion to compel is moot and denied as such.

IT IS SO ORDERED this 26th Of July, 2005

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DIANE K VESCOVO
UNITED STATES MAGISTRATE JUDGE

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Honorable Samuel Mays
US DISTRICT COURT

